                                                                                                                                                                                                       Page:         1
                                                       Case 6:14-bk-05012-CCJ                     Doc 39         Filed 07/10/18             Page 1 of 2
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              14-05012                         CCJ            Judge:        Cynthia C. Jackson                           Trustee Name:                      ARVIND MAHENDRU
Case Name:            Taronica R White                                                                                           Date Filed (f) or Converted (c):   04/30/2014 (f)
                                                                                                                                 341(a) Meeting Date:               06/04/2014
For Period Ending:    07/10/2018                                                                                                 Claims Bar Date:                   05/14/2018


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 10044 Blue Waters Road, Tallahassee, Fl 32305 Lot 15,                                     0.00                       0.00               OA                                      0.00                          FA
     Block
  2. No Cash On Hand                                                                           0.00                       0.00                                                       0.00                          FA
  3. Justice Federal Credit Union Checking & Savings Account No                           1,125.83                        0.00                                                       0.00                          FA
     8
  4. Washer & Dryer, Misc Kitchen Items, Table & 4 Chairs, Sectio                            700.00                       0.00                                                       0.00                          FA
  5. Misc Books And Pictures                                                                  10.00                       0.00                                                       0.00                          FA
  6. Misc Clothing And Jewelry                                                               100.00                       0.00                                                       0.00                          FA
  7. National Western Life Insurance                                                         395.21                       0.00                                                       0.00                          FA
  8. Through Job - No Cash Value                                                               0.00                       0.00                                                       0.00                          FA
  9. Tsp                                                                                 32,672.44                        0.00                                                       0.00                          FA
 10. 2007 Dodge Charger Vin 2B3ka43r37h624101 Miles: 179,048                              3,540.00                        0.00               OA                                      0.00                          FA
 11. sexual harassment claim (u)                                                         Unknown                    300,000.00                                                74,382.24                     225,617.76


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $38,543.48               $300,000.00                                                 $74,382.24                    $225,617.76
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
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Asset # 11-Harassment case
                                                    Case 6:14-bk-05012-CCJ                    Doc 39        Filed 07/10/18     Page 2 of 2
8/28/15- class action suit proceeding to discovery
12/18/15- mediation scheduled for January 14, 2016 and trial set for June 2016
3/11/16- second mediation scheduled for next week
3/30/17- parties have reached an agreement which is pending court approval
4/26/18-Notice of Abandonment
4/26/17- Application to Employ Heidi R. Burakiewicz as Special Counsel
4/26/17- Order Approving Application to Employ/Retain Heidi R Burakiewicz as Special Counsel
2/7/18- Notice of Assets
2/8/18- Application to Employ Arvind Mahendru as Attorney
2/9/18- Order Approving Application to Employ/Retain Arvind Mahendru as Attorney
7/5/18-Motion to Compel settlement closing statement, Hearing scheduled for 7/31/2018 at 02:45 PM
7/8/18-Notice of Abandonment




Initial Projected Date of Final Report (TFR): 11/15/2015            Current Projected Date of Final Report (TFR): 07/30/2018

Trustee Signature:      /s/ ARVIND MAHENDRU                Date: 07/10/2018
                        ARVIND MAHENDRU
                        5703 Red Bug Lake Rd. #284
                        Winter Springs Florida, 32708
                        (407) 504-2462
                        amtrustee@gmail.com
